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                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF LOUISIANA

DANIEL GUMNS, MICHAEL VIDEAU,                   *
REVON WILEY, IAN CAZENAVE,                      *
REGINALD GEORGE, LIONEL TOLBERT, *
OTTO BARRERA, KENTRELL PARKER                   *
MICHAEL ROBINSON, JULIUS ALLEN,                 *
ERNEST ROERS, ALFOANSO GARNER,                  *
BRADLEY WINTERS, KENDRICK WILSON                *
JAMES HUGHES, on behalf of themselves and all *
similarly situated individuals                  *
                                                *         NO. 3:20-cv-231-SDD-RLB
VERSUS                                          *
                                                *
JOHN BEL EDWARDS, in his official               *         CLASS ACTION
capacity as Governor of the State of Louisiana; *
LOUISIANA DEPARTMENT OF PUBLIC                  *
SAFETY & CORRECTIONS; JAMES LeBLANC, *
in his official capacity as Secretary of the    *
Department of Safety & Corrections; JOHN        *
MORRISON, in his official capacity as Medical *
Director of the Department of Public Safety & *
Corrections; LOUISIANA DEPARTMENT OF *
HEALTH; and Stephen R. RUSSO, in his official *
capacity as Interim Secretary of the Louisiana  *
Department of Health                            *


                  ORDER GRANTING MOTION TO WITHDRAW
            AND SUBSTITUTE THE DOC DEFENDANTS’ EXHIBIT NO. 43

       CONSIDERING the foregoing Motion to Withdraw and Substitute the DOC Defendants’

Exhibit No. 42 (the “Motion”) filed on behalf of The Louisiana Department of Public Safety &

Corrections; James Leblanc, in his official capacity as Secretary of the Department of Safety &

Corrections; and Dr. John E. Morrison, in his official capacity as Medical Director of the

Department of Public Safety & Corrections (collectively, the “DOC Defendants”):
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       IT IS HEREBY ORDERED that the Motion is granted and that the DOC Defendants’

Exhibit No. 43 shall be withdrawn and that the 18-page document attached to the Motion as

Exhibit “A,” shall be substituted in its place.

       SO ORDERED at Baton Rouge, Louisiana this 11th day of May, 2020.



                                                   S
                                                  UNITED STATES JUDGE
                                                  MIDDLE DISTRICT OF LOUISIANA




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